 1   LAW OFFICES OF CHRIS COSCA
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 3   (916) 440-1010
 4   Attorney for Defendant
     JANNICE RIDDICK
 5

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 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

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12   UNITED STATES OF AMERICA,                       )   2: 13-CR-0103 MCE
                                                     )
13                   Plaintiff,                      )   STIPULATION AND [PROPOSED]
                                                     )   ORDER TO MODIFY PRETRIAL
14          vs.                                      )   RELEASE CONDITIONS
                                                     )
15   JANNICE RIDDICK,                                )
                                                     )
16                                                   )
                                                     )
17                   Defendant.                      )
                                                     )
18                                                   )

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                                             STIPULATION
            Pursuant to the recommendation of Pretrial Services Officer Michael R. Evans, the
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     parties hereto, through their undersigned counsel, hereby stipulate that the defendant’s pretrial
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     release terms be modified as follows:
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            The release term prohibiting employment in the real estate or mortgage industries shall
24
     be modified as follows: “You shall not be employed in the real estate or mortgage industry,
25
     unless approved of in advance by Pretrial Services.” All other release conditions shall remain.
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     ///
27
     ///
28




                              STIP AND ORDER MODIFYING RELEASE CONDITION
                                       USA v.RIDDICK, 13-103 MCE
 1                                                 Respectfully submitted,
 2

 3
     Dated: September 4, 2013                      /s/ Chris Cosca___________________
 4
                                                   CHRIS COSCA
 5                                                 Attorney for Defendant

 6

 7
     Dated: September 4, 2013                      _/s/ Chris Cosca for ___________________
 8                                                 TODD PICKLES
                                                   Assistant US Attorney
 9                                                 Attorney for Plaintiff
10

11                                                ORDER

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13
     IT IS SO ORDERD.
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     All other terms of the defendant’s release shall remain in full force and effect.
15
     Dated: September 4, 2013
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                              STIP AND ORDER MODIFYING RELEASE CONDITION
                                       USA v.RIDDICK, 13-103 MCE
